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JEFFREY AKINS

v.                                    CASE NO.       tf: I 5av I I q - /&A!.L.U
CAVALRY SPV I, LLC, ALLEN                                                                         DEFENDANTS
&WITHROW, and LORI WITHROW, COLTON
GREGORY, GARY J. BARRETT and JOHN AND
JANE DOES 1-100 INDIVIDUALLY
                                                            This case assigned to District J u . ( ! . J r
                                                  COMPLAINT and to Magistrate Judge ~

     Comes now the Plaintiff, Jeffrey Akins, by and through his counsel, Leigh Law PLLC, and for

its Complaint, states:

                                               INTRODUCTION

     This action arises out of the facts and circumstances surrounding the collection of an alleged

consumer debt, via an action filed by the named Defendants in the District Court of Faulkner County,

Arkansas, captioned, Cavalry SPV I, LLC v. Jeffrey Akins, Case Number CW-CV-14-436.

     Jeffrey Akins brings this Complaint against: Cavalry SPV I, LLC., Allen & Withrow, and Lori

Withrow, Colton Gregory, Gary Barrett, and John and Jane Does 1-100 individually, seeking

statutory, actual, and punitive damages, as well as attorney fees and costs, for violations of the Fair

Debt Collection Practices Act (hereafter "FDCPA '') § 15 USC. 1692 et seq1., Arkansas Fair Debt

Collection Practices Act (hereafter "AFDCPA '') § 17-24-101 et seq., Arkansas Deceptive Trade

Practices Act (hereafter "ADTPA '') A. CA. §§ 4-88-101 through 4-88-115, Racketeer Influenced




1
  "The Fair Debt Collection Practices Act is an extraordinarily broad statute. Congress addressed what it considered to
be a widespread problem, and to remedy that problem it crafted a broad statute." Frey v. Gangwish, 970 F.2d 1516,
1521 (6th Cir. 1992); see also O'Rourke v. Palisades Acquisition XVI, LLC, 635 F.3d 938, 941 (7th Cir. 2011) (Section
l692e "is broadly written."). Courts thus "apply the Act broadly according to its terms." Bridge, 681 F.3d at 362.
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and Corrupt Organizations Act (hereafter "RICO") 18 US.C. 1961 et seq., and for malicious

prosecution, fraud, abuse of process, and breach of contract.

                                       JURISDICTION AND VENUE

         1. Jurisdiction in conferred on this Courtpursuantto 15US.C.§1692k(d), 18US.C1964(c).

18 US.C. § 1965(a), and 28 US.C. § 1331.

         2. As Plaintiff's state claims are related to Plaintiffs federal claims, and Plaintiff's state

claims are inextricably entwined and arise out of a common nucleus of related facts, form part of the

same controversy under Article III of the United States Constitution, are not complex or novel and

are straightforward, this Court has supplemental jurisdiction to hear and adjudicate Plaintiff's state

claims against the Defendant pursuant to 28 US.C. § 1367.

         3. Venue in this Court is proper, as all alleged conduct took place while the Plaintiff was

residing in Faulkner County, Arkansas.

                                                     PARTIES

         4. Plaintiff incorporates by reference and re-alleges paragraphs ( 1) through (3 ).

         5. Jeffrey Akins (Hereinafter "Akins") is a natural person residing in Faulkner County

Arkansas, and was a "consumer" at all times as alleged in this Complaint, in so far as "consumer" is

defined pursuant to 15 US.C. § 1692(a)(3) andA.C.A. § 17-24-502(2). 2

         6. Cavalry SPV I, LLC, (Hereinafter "Cavalry"), with a primary place of business located

at 500 Summit Lake Drive, Suite 400, Valhalla, New York, was acting as a "debt collector," in so

far as debt collector is defined pursuant to 15 US. C. § 1692(a)(6) and A. CA. § 17-24-502(5)(A). 3


2
  A "consumer'' means any natural person obligated or allegedly obligated to pay any debt. 15 U.S.C. § 1692(a)(3) &
A.CA. § 17-24-502(2).

3
  A "debt collector" is any person who uses any instrumentality of interstate commerce or the mails in any business the
principal purpose of which is the collection of any debts, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another. 15 U.S.C. §1692a(6) & A.CA.§ 17-24-502(5)(A).
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         7. Allen & Withrow, with a primary place of business located at 12410 Cantrell Road, Little

Rock, Arkansas, is a law firm and a "debt collector," in so far as debt collector is defined pursuant

to 15 USC§ 1692(a)(6) andA.C.A. § 17-24-502(5)(A).

         8. Lori Withrow (Hereinafter "Withrow") is a "debt collector," in so far as debt collector is

defined pursuant to 15 US.C. § 1692(a)(6) and A.CA.§ 17-24-502(5)(A), who regularly engages in

consumer-debt-collection activity.

         9. Colton Gregory (Hereinafter "Gregory") is a "debt collector," in so far as debt collector

is defined pursuant to 15 US.C. § 1692(a)(6) and A.CA. § 17-24-502(5)(A), who regularly engages

in consumer-debt-collection activity.

       10.    Gary Barrett (Hereinafter "Barrett") is a "debt collector," in so far as debt collector is

defined pursuant to 15 US.C. § 1692(a)(6) and A.CA.§ 17-24-502(5)(A), who regularly engages in

consumer-debt-collection activity.

       11.     John and Jane Does 1-100 are expected to be employees of Allen & Withrow, and

Calvary, who are "debt collectors," in so far as debt collector is defined pursuant to 15 US. C. §

1692(a)(6) and A.CA. § 17-24-502(5)(A), 4 who will be discovered during the discovery phase of

this action, 5 and who regularly engage in consumer-debt-collection activity.




4
  All Defendants were attempting to collect a "debt," from Akins, in so far as "debt" is defined pursuant to 15 U.S.C.
1692(a), which defines debt as, "any obligation or alleged obligation of a consumer to pay money arising out of a
transaction in which the money, property, insurance or services which are the subject of the transaction are primarily for
personal, family, or household purposes, whether or not such obligation has been reduced to judgment.

5
   An employee cannot escape liability under the FDCPA merely by following established office procedures with no
intent to violate the FDCP A. FTC Statements of General Policy or Interpretation Staff Commentary on the FDCPA, 53
Fed Reg. 50097, 50109 (Dec. 13, 1988). See also, Musso v. Seiders, 194 F.R.D. 43, 46 (D. Conn. 1999); Som v. Daniels
Law Offices, P.C., 573 F. Supp. 2d 349, 356 (D. Mass. 2008); Krapfv. Profl Collection Servs., Inc., 525 F. Supp. 2d
324, 327 (E.D.N.Y. 2007); White v. Goodman, 200 F.3d 1016, 1019 (7th Cir. 2000); Petit v. Retrieval Masters Creditors
Burueau, Inc., 211F.3d1057, 1059 (7th Cir. 2000).
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               RELEVANTPRECEDENTANDSTATUTORYSTRUCTURE
                       OF THE FDCPA AND THE AFDCPA

       12.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (11).

       13. The FDCPA is a strict liability statute which covers both intentional and unintentional

violations. Strand v. Diversified Collection Serv., Inc., 380 F.3d 316, 317 (8th Cir. 2004).

       14.   Whether conduct violates the FDCPA is to be determined by analyzing the conduct

from the perspective of the least sophisticated consumer. Freyermuth v. Credit Bureau Servs., Inc.,

248 F.3d 767, 771 (8th Cir. 2001)(quoting, Duffy v. Landberg, 215 F.3d 871, 873 (8th Cir. 2000).

       15.   The actual taking of an action is a threat to take further action, e.g., filing a lawsuit is a

threat to obtain ajudgment. Royal Financial Group, LLC v. Perkins, ED 98991, 2013 WL 4419343

(Mo. App. Aug. 20, 2013).

       16. The FDCPA applies to attorneys who 'regularly' engage in consumer-debt-collection

activity. Heintz v. Jenkins, 514 U.S. 291, 299 (1995).

       17.   The bona fide error defense is limited to clerical errors. Picht v. Jon R. Hawks, Ltd.,

236 F.3d 446, 451 (8th Cir. 2001).

       18.    The "bona fide error" defense does not apply to a violation resulting from a debt

collector's mistaken interpretation of the legal requirements of the FDCPA. Jerman v. Carlisle,

McNellie, Rini, Kramer & Ulnch LPA. No. 08-1200, 130 S. Ct. 1605; 176 L Ed. 2D 519; 2010 U.S.

Lexis 3480; (April 21, 2010).

       19.    A debt collector may not use any false, deceptive, or misleading representations or

means in connection with the collection of any debt. 15 US.C § 1692e & A.CA.§ 17-24-506(a).

       20.   A debt collector may not use unfair or unconscionable means to collect or attempt to

collect any debt. 15 US.C § 1692/ & A.CA.§ 17-24-507(a).
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       21.    Any debt collector who fails to comply with any provision of the Act, with respect to

any person, is liable to such person for actual damages. 15 US. C. § l 692k(a)(l) & A. C.A. § l 7-24-

512(a)(l).

       22.    Any debt collector who fails to comply with any provision of the Act, with respect to

any person, is liable to such person for statutory damages up to $1,000.00. 15 USC. 1692k(a)(2)

& A.CA.§ 17-24-512(a)(2)(A).

       23.    In the case of a successful action to enforce the foregoing liability, a debt collector is

liable for the costs of the action, together with a reasonable attorney's fee as determined by the court.

15 USC. §1692k(a)(3) & A.CA.§ 17-24-512(a)(2)(A).

      RELEVANT PRECEDENT AND STATUTORY STRUCTURE OF THE ADTPA

       24.     Plaintiff incorporates by reference and re-alleges paragraphs (1) through (23).

       25.     Engaging in any unconscionable, false or deceptive act or practice in business,

commerce or trade violates the ADTPA. A.CA.§ 4-88-107(a)(l0).

       26.   A violation of the FDCPA is aper se violation of the ADTPA.

       27.    Any person who suffers actual damage or injury as a result of an offense or violation

under the ADTPA, has a cause of action to recover actual damages, if appropriate, and reasonable

attorney's fees.A.CA.§ 4-88-113(/).

                                                FACTS

       28.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (27).

       29.   On the date of May 8, 2014, Cavalry, through its attorney, Allen and Withrow, filed a

Complaint against Akins, in the District Court of Faulkner County, Arkansas, captioned, Cavalry
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SPV I, LLC v. Jeffrey C. Akins, Case No. CWCV-14-436 (See, Exhibit "A" attached hereto and

Incorporated by reference). 6

           30.    On the date of August 7, 2014, Akins was served.

           31.    On the date of September 4, 2014, Akins retained the services of Leigh Law PLLC.

           32. On the date of September 4, 2014, Leigh Law PLLC, answered the Complaint, and also

filed a Motion to Dismiss.

           33.     Paragraph 8 of Akins' Answer pied, "Defendant reserves the right to exercise, elect,

and/or initiate any private contractual arbitration clause, electing JAMS 7 as the forum of choice, that

may be discovered during the discovery phase of this case" (See, Exhibit "B" attached hereto and

incorporated by reference).

           34.    Akins' Motion to Dismiss was based on the fact that Cavalry, through its attorney, had

failed to comply with Arkansas Rule of Civil Procedure 10(d), which requires, "A copy of any

written instrument or docwnent upon which a claim or defense is based shall be attached as an exhibit

to the pleading in which such claim or defense is averred unless good cause for its absence in such

pleading."

           35.     Cavalry failed to attach to its Complaint a copy of the written instrument on which

Cavalry's claim was based, and Calvary failed to plead good cause for its absence.

           36.      On or about September 16, 2014, Cavalry filed its response to Akins' Motion to

Dismiss, admitting it did not attach the written instrument to its Complaint, but asserted there was




6
   The suit alleged that Akins defaulted on a credit card account, which Cavalry allegedly purchased from the original
creditor; therefore Akins was indebted to Cavalry. Cavalry, on their behalf, employed the services of Allen and Withrow
to sue Akins.

7
    JAMS, founded in 1979, is the largest private alternative dispute resolution (ADR) provider in the world.
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no prejudice to Akins, if it [Cavalry] later provided the written instrument (See, Exhibit "Cl-C2"

attached hereto and incorporated by reference).

       37.    On or about September 30, 2014, Cavalry, through its attorneys, served Akins with

Requests for Admissions. These requests did not comply with ARCP 36, which requires "copies of

documents shall be served with the requests for admission unless they have been or are otherwise

furnished or made available for inspection or copying" (See, Exhibit "Dl-D5" attached hereto and

incorporated by reference). At the time these requests were propounded, Cavalry had still not

provided the written instrument on which it based its entire Request for Admissions.

       38.   On the date of October 2, 2014, Akins responded to Cavalry's Requests for Admissions

with objections based on Cavalry's violation of Rule 36 (See, Exhibit "Dl-D5")

       39.   On or about December 1, 2014, Cavalry, through its attorneys Allen & Withrow, Lori

Withrow, Colton Gregory, and Gary Barrett filed a Motion for Summary Judgment.

       40.   On the date of December 11, 2014, Akins responded to Cavalry's Motion for Summary

Judgment.

       41. On the date ofDecember 19, 2014, Cavalry, through its attorneys, sent a letter to Akins,

through his attorney Leigh Law PLLC., advising it would be moving the Court, pursuant to Ark.

Code Ann§ 16-46-1108, to "admit relevant documents," and if Leigh Law wanted copies of the

relevant documents, they would only be sent to Leigh Law, if Leigh Law paid a fee to Cavalry to

obtain those documents (See, Exhibit "E" attached hereto and incorporated by reference).

       42.    On the date of December 30, 2014, Cavalry withdrew its Motion for Summary

Judgment.

       43.   On the date of January 6, 2015, Cavalry. through its attorneys, Allen and Withrow sent

a letter to Akins's counsel, advising that Akins's response to Cavalry's Request for Admissions were
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not proper, and threatened to file a Motion to Compel, including asking for attorney fees, if Akins

did not properly respond to Cavalry's Request for Admissions within two weeks.

        44.     Along with this letter of January 6, 2015, Cavalry disclosed the written instrument

(contract) on which they based their Complaint and which was required to make Calvary's Requests

for Admissions proper.

        45. On the date of January 21, 2014, Cavalry, through its attorneys, Allen & Withrow, filed

its Motion to Compel and sought an award of attorney fees and costs against Akins.

        46. Akins responded to Cavalry's motion with a Motion to Compel Arbitration, arguing the

action filed by Cavalry should have never been filed in the Faulkner County District Court and

Cavalry was breaching its own contract with Akins.

        47. Akins, with his Motion to Compel Arbitration, made a demand through Cavalry's

attorneys to forward the filing fee and initial arbitration costs to Leigh Law, PLLC, so Akins could

arbitrate Cavalry's claims, per the terms of Cavalry's contract.

        48. Cavalry, even after being served with Akins' Motion to Compel Arbitration, refused to

dismiss its action or remove the action to arbitration on its own, as its own contract dictates.

        49. Due to Cavalry and its attorneys refusing to dismiss the case and instead moving forward

with its improper Motion to Compel, they caused an Order to be entered against Akins, granting

Cavalry's Motion to Compel (See, Exhibit "F" attached hereto and incorporated by reference) prior

to the Court ruling on Akin's Motion to Compel Arbitration. 8

        50. On or about the date of February 23, 2015, the Faulkner County District Court removed

the action Cavalry filed from its docket, effectively granting Akins Motion to Compel Arbitration.




8
 The District Court of Conway has now stayed Cavalry's action and its Order to Compel, however, it took aggressive
action on the part of Leigh Law, as Cavalry refuses to comply with its own contract.
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         51.    As of the date of the filing of this federal complaint, Cavalry and its attorneys have

continued to refuse to dismiss their action in the Faulkner County District Court and have refused to

arbitrate their claims per Calvary's own contract, causing Akins to continue to incur legal fees to

defend against Cavalry's action in two different venues.

         52.    Cavalry's contract is an adhesion contract. 9

         53.    Cavalry's own adhesion contract contains a mandatory arbitration clause (See, Exhibit

"Gl-G2" attached hereto and incorporated by reference), that states the following:

                "Any claim or dispute ("Claim") by either you or us against the other, or
                against the employees, agents or assigns of the other [emphasis added],
                arising from or relating in any way to this Agreement or any prior Agreement
                or your account (whether under a statute, in contract, tort, or otherwise and
                whether for money damages, penalties or declaratory or equitable relief),
                including Claims regarding the applicability of this Arbitration and
                Litigation section or the validity of the entire Agreement or any prior
                Agreement, shall be resolved by binding arbitration [emphasis added] .

                .. .The National Arbitration Forum (''NAF") shall be used, unless the NAF
                is unable or unwilling to act as arbitrator, and ifNAF is not available we may
                substitute another nationally recognized, independent arbitration
                organization that uses a similar code of procedure"

            ... "At your written request, we will advance any arbitration filling fee,
            administrative and hearing fees which you are required to pay to pursue a Claim in
            arbitration."

            ... "This arbitration agreement is made pursuant to a transaction involving interstate
            commerce, and shall be governed by the Federal Arbitration Act, 9 U.S.C. §§ 1-16
            ("FAA")."

            ... This Arbitration and Litigation Section shall survive the termination of your
            account with us as well as any voluntary payment of the debt in full by you, any
            bankruptcy by you or sale of debt by us [emphasis added].



9
  A contract of adhesion is a form contract submitted by one party and accepted by the other on the basis of 'this or
nothing.' It is an instrument devised by skilled legal talent for mass and standard-industrywide use which does not allow
for idiosyncrasy. It is a transaction not negotiated but one which literally adheres for want of choice. Plant v. Wilbur,
345 Ark. 487, 47 S.W.3d 889 (2001)(citing, Haines v. St. Charles Speedway, Inc., 874 F.2d 572, 574-75 (8th Cir.
1989)(quoting Estrin Constr. Co. v. Aetna Casualtv and Sur. Co., 612 S.W.2d 413, 418 n. 3 (Mo.App. 1981) (emphasis
original) and Spychalski v. MFA Life Ins. Co., 620 S.W.2d 388 (Mo.App. 1981).
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           54.     In addition, in all uppercase font, the arbitration clause states,

               "The result of this Arbitration Agreement is that, except as provided above, 10
               claims cannot be litigated in court" [emphasis added]

               (See, Exhibit "H" attached hereto and incorporated by reference).

           55. Calvary's contract designates that Delaware law, not Arkansas law, governs its contract

(See, Exhibit "!"attached hereto and incorporated by reference).

           56.    Delaware imposes a three year statute of limitations to bring suit on a credit card. 11

           57.    Akins last payment on this account was February 16, 2011 (See, Exhibit "J" attached

hereto and incorporated by reference).

           58.     Defendants' conduct caused Akins to suffer anxiety, fear, nausea, headaches, worry,

emotional distress, and anger.

                                    COUNT 1: VIOLATIONS OF THE FDCPA

           59.      Plaintiff incorporates by reference and re-alleges paragraphs (1) through (58).

           60.     Defendants violated the FDCPA, specifically, 15 U.S.C. § 1692e, in the following

ways:

                    (a) Using deception to conceal its own mandatory arbitration agreement, and its

violation of the same, for over four months.

                    (b) Misleading the District Court of Faulkner County, and Akins, that the Defendant's

action was brought in the proper venue.

                    (c) Pleading falsely that the District Court of Faulkner County, Arkansas had

jurisdiction when the Defendant's own contract stripped that Court, or any Court, of Jurisdiction.




w The only way the mandatory arbitration clause is void is if the Defendant rejected the clause in writing, which the
Defendant did not do.

11
     Del. Code Ann. Tit. 10, § 8101 et. seq.
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                   (d) Using deceptive and false statements that the alleged debt was within the

applicable statute of limitations, when in fact the three year Delaware statute had expired over two

months before suit was filed.

         61. Defendants Withrow, Gregory, and Barrett violated the FDCPA, specifically, 15 US. C.

§ 1692f as it is unfair and unconscionable, as licensed attorneys at law, to pursue Akins in the wrong

venue, wrong jurisdiction, and to file and sign pleadings in a Court when their own contract that

forbids judicial action.

         62.     Defendants Withrow, Gregory, and Barrett further violated the FDCPA, specifically,

15 US.C. § 1692/, by filing a Motion to Compel Akins to answer discovery that was improperly

brought and to seek an award of its attorney fees in bringing its improper motion.

         63.      Defendants violated the FDCPA, specifically, 15 USC §§ 1692f, 1692e, by suing

Akins on a debt which was past the statute of limitations. 12

         64.     Defendants violated the FDCPA, specifically, 15 US.C. §§ 1692e, 1692/, by refusing

to arbitrate their claims, even after being put on notice that Akins elected arbitration. 13


12
 "In the absence ofa threat oflitigation or actual litigation, [emphasis added] no violation of the FDCPA has occurred
when a debt collector attempts to collect on a potentially time-barred debt that is otherwise valid." Freyermuth v. Credit
Bureau Services 248 F.3d 767 (8th Cir. 2001)

"'Time-barred lawsuits are, absent tolling, unjust and unfair as a matter of public policy, and this is no less true in the
consumer context." Kimber rejected the defendant's argument that the statute oflimitations was an affirmative defense
that had to be raised and found the conduct both deceptive under Section l 692e and unfair/unconscionable under Section
1692f Kimber v. Fed. Fin. Coro., 668 F. Supp. 1480, 1488 (M.D. Ala. 1987).

Statutes oflimitation reflect a legislative judgment that failing to put a defendant on notice to defend against a suit within
a specified period is "unjust." United States v. Kubrick, 444 U.S. 111, 117 (1979). This is because "the right to be free
of stale claims in time comes to prevail over the right to prosecute them.'" Id. (quoting R.R. Telegraphers v. Ry. Express
Agency, 321 U.S. 342, 349 (1944)). Threats to sue (and actual lawsuits) misrepresent the legal status of time-barred
debt-violating 15 U.S.C. § I 692e(2)(A)-by implying that the collector "can legally prevail'' in a lawsuit. E.g., Kimber.
668 F. Supp. at 1488.

"'Most consumers do not understand their legal rights with respect to time-barred debts." McMahon v. LVNV Funding.
LLC, 2014 U.S. App. LEXIS 4592, *29 (7th Cir. Mar. 11, 2014).

13
   Akins was under no obligation to demand arbitration, as Defendants' own contract required mandatory arbitration of
all disputes.
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           65.   Defendants violated the FDCPA, specifically, 15 USC.§§ 1692/, by causing Akins to

incur attorney fees and costs to defend a lawsuit which should never have been filed against him in

a judicial context.

                              COUNT 2: VIOLATIONS OF THE AFDCPA 14

           66.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (65).

           67. Defendants violated the AFDCPA, specifically, A.CA.§§ 17-24-507(a), 17-24-506(a),

as all of the violations complained of in paragraphs (50) through (58) are per se violations of the

AFDCPA.

                                COUNT 3: VIOLATIONS OF THE ADTPA

           68.    Plaintiff incorporates by reference and re-alleges paragraphs (1) through (67).

           69.   Defendants violated the ADTPA, specifically, A.CA. § 4-88-107(a)(l0), as the

Defendants' violations of the FDCPA, the AFDCPA, RICO, and breach of contract are violations

of the ADTPA.

       COUNT 4: VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                         ORGANIZATIONS (RICO) ACT 15

           70.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (69).

           71. Defendants violated the civil RICO Act, specifically, 18 USC.§ 1692(c), as Defendant

Withrow operates and manages the enterprise, Allen & Withrow, 16 which enterprise carried out a

pattern of racketeering and conspiracy against Akins, and then committed actual fraud against Akins



14
     The AFDCPA is state laOw, which language mirrors that of the FDCPA.

15
  RICO is to be broadly construed in order to accomplish its purposes. Racketeer Influenced and Corrupt Organizations,
Pub. L. No. 91-452, § 904, 84 Stat. 947 (1970).

16
   18 U.S.C. § 1961 (1982) provides in part: "person" includes any individual or entity capable of holding a legal or
beneficial interest in property; "enterprise" includes any individual, partnership, corporation, association, or other legal
entity.
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with a continuous series ofracketeering activity, via the Courts of the State of Arkansas, as opposed

to arbitration, targeting Akins. 17

                              COUNT 5: FRAUD/MISREPRENSTATION

         72.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (71 ).

         73. The conduct of the Defendants, as complained of in the preceding paragraphs, makes

the Defendants guilty of fraud.

         74. The material fact of jurisdiction was falsely represented.

         75.   Defendants knew the contract required all disputes be resolved by arbitration and not

in the judicial forum.

         75. Defendants intended for Akins to rely on their assertion to the District Court that

jurisdiction and venue was proper in the District Court.

         76. Akins did rely on Defendants' assertions, and suffered actual and emotional damages.

                                     COUNT 6: ABUSE OF PROCESS

         77.   Plaintiff incorporates by reference and re-alleges paragraphs (1) through (76).

         78.   The conduct of the Defendants, makes the Defendants guilty of abuse of process.

         79.    Plaintiff, in his first responsive pleadings, put the Defendants on notice that he was

invoking arbitration.

         80.   Defendants concealed its mandatory arbitration agreement.

         81.   Defendants served improper discovery on the Plaintiff.

         82.    Defendants failed to attach to its discovery the documents which Defendants were

asking Plaintiff to admit o~ deny in violation of Arkansas Rule of Civil Procedure 36.




17
  A pattern of racketeering is expressly defined to mean only two (2) RICO "predicate acts" during any given l 0-year
period. 18 U.S.C. 1961(5).
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         83. Defendants filed an improper motion for summary judgment against Plaintiff, and then

withdrew its motion as soon as Plaintiff aggressively defended against same.

         84. Defendants filed a motion that it would be using documents against the Plaintiff that

Plaintiffs counsel must pay a fee to Defendants to receive same.

         85. Defendants have refused to dismiss their action and their Motion to Compel, continuing

its abuse of process against the Plaintiff for over five months.

         86. At this time the Defendants have still not dismissed its Complaint or submitted to

arbitration in compliance with its own contract.

                                COUNT 7: MALICIOUS PROSECUTION

         87.    Plaintiff incorporates by reference and re-alleges paragraphs (1) through (86).

         88.    Defendants have aggressively prosecuted this case, even when being made aware their

conduct and prosecution is illegal and in violation of their own contract.

         89. Defendants have refused to dismiss their Complaint in the District Court, maliciously

causing the Plaintiff to continue to incur attorney's fees and other costs.

                                  COUNT 8: BREACH OF CONTRACT 18

         90.    Plaintiff incorporates by reference and re-alleges paragraphs (1) through (89).

         91. Plaintiff and Defendant entered into a written contract.

         92.     Part of the contract required that all disputes shall be resolved by arbitration and

specifically held that an action in a court of law was not permitted.

         93. Defendants brought its dispute against Plaintiff as an action in a court of law, violating

the contract.


18
   The essential elements of a contract are (I) competent parties, (2) subject matter, (3) legal consideration, (4) mutual
agreement, and (5) mutual obligations. Barnes, 349 Ark. 411, 78 S.W.3d 714; Showmethemoney, 342 Ark. 112, 27
S.W.3d 361; Foundation Telecom.. Inc. v. Moe Studio. Inc., 341 Ark. 231, 16 S.W.3d 531 (2000).
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       94.   The conduct of the Defendants as a judicial action, breaching the contract.

                          DAMAGES AND PRAYER FOR RELIEF

       95.   Plaintiff incorporates by reference and re-alleges paragraphs (1) though (94).

       96.   Akins prays for statutory damages in the amount of $1,000.00, pursuant to 15 USC

1692k(a)(2), against Defendant Cavalry.

       97.   Akins prays for statutory damages in the amount of$1,000.00, pursuant to 15 USC

1692k(a)(2), against Defendant Southern, Allen & Withrow.

       98.   Akins prays for statutory damages in the amount of$1,000.00, pursuant to 15 USC

l 692k(a)(2), against Defendant Lori Withrow.

       99.   Akins prays for statutory damages in the amount of $1,000.00, pursuant to 15 USC

l 692k(a)(2), against Defendant Colton Gregory.

      100.   Akins prays for statutory damages in the amount of $1,000.00, pursuant to 15 USC

1692k(a)(2), against Defendant Gary Barrett.

      1O1.    Akins prays for statutory damages in the amount of $1,000.00, pursuant to A. CA. §

17-24-512(a)(2)(A), against Defendant Cavalry.

      102.    Akins prays for statutory damages in the amount of $1,000.00, pursuant to A. CA. §

17-24-512(a)(2)(A), against Defendant Southern Allen & Withrow.

      103.    Akins prays for statutory damages in the amount of $1,000.00, pursuant to A.CA. §

17-24-512(a)(2)(A), against Defendant Lori Withrow.

      104.    Akins prays for statutory damages in the amount of $1,000.00, pursuant to A. CA. §

17-24-512(a)(2)(A), against Defendant Colton Gregory.

      105.    Akins prays for statutory damages in the amount of $1,000.00, pursuant to A.CA. §

17-24-512(a)(2)(A), against Defendant Gary Barrett.
                 Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 16 of 33



        106.     Akins prays for the actual damage of emotional distress, in an amount determined at

trial, pursuant to 15 U.S.C § 1692k(a)(l) & A.CA.§ 17-24-512(a)(l), against all Defendants,' joint

and severally.

        107.    Akins prays for his attorneys fees in having to defend against the action in Faulkner

County, Arkansas, in an amount determined by the Court, depending on the nature of the

Defendants' defense and the time and expense Akins incurs, against all Defendants,' joint and

severally.

       108.      Akins prays for his attorney fees and costs, pursuant to A. CA. § 16-22-308., 19 against

all Defendants, joint and severally.

        109.     Akins prays for his attorney fees and costs, pursuant to 15 U.S.C §1692k(a)(3) &

A.CA.§ 17-24-512(a)(2)(A), against all Defendants, joint and severally.

        110.      Akins prays for damages for breach of contract, fraud, malicious prosecution, and

RICO violations, in an amount determined at trial, against all Defendants, joint and severally.

        111. Akins prays that all damages be trebled, pursuant to RICO, due to the element of fraud

on the part of the Defendants,20 joint and severally.




19
   A.CA. § 16-22-308- In any civil action to recover on an open account, statement of account, account stated,
promissory note, bill, negotiable instrument, or contract relating to the purchase or sale of goods, wares, or merchandise,
or for labor or services, or breach of contract, unless otherwise provided by law or the contract which is the subject
matter of the action, the prevailing party may be allowed a reasonable attorney's fee to be assessed by the court.

20
   "[A]ny person injured in his business or property by reason of a violation of section 1962 ... may sue therefor in any
appropriate United States district court and shall recover threefold the damages he sustains and the cost of the suit,
including a reasonable attorney's fee." 18 US.C. § 1964(c) (1983).

The provision for treble damages is accordingly justified by the expected benefit of suppressing racketeering activity,
an object pursued the sooner the better. Rotella v. Wood et al., 528 U.S. 549 (2000).

"A civil RICO plaintiff need not allege any prior criminal conviction and may establish a case by a preponderance of
the evidence." Farmers Bank v. Bell Mortgage Corp., 452 F. Supp. 1278, 1280 (D. Del. 1978); Heinold Commodities,
Inc. v. McCarty, 513 F. Supp. 311, 313 (N.D. Ill. 1979).
              Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 17 of 33



       112. Akins prays for all other damages that he may be entitled, against all Defendants, joint

and severally.

                                     DEMAND FOR JURY TRIAL

       113.      Plaintiff incorporates by reference and re-alleges paragraphs (1) though (112).

       114.      Plaintiff demands a trial by jury.

                                                        Respectfully Submitted:




                                                        Victoria Leigh 011257)
                                                        Attorney for the Plaintiff
                                                        P.O. Box 21514
                                                        Little Rock, AR 72221
                                                        (501) 227-7627
                                                        V@leigh-law.com
                 Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 18 of 33




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                 Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 19 of 33



                  IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS
                                    CONWAY DIVISION

    CAVALRY SPV I, LLC.                                                                    PLAINTIFF

    v.                                     CASE NO. CWCV-14-436

    JEFFREY C. AKINS                                                                     DEFENDANT

                                                  ANSWER

         Comes the Defendant, Jeffrey Akins, by and through his attorney, Leigh Law LLC., and for its

    Answer to the Complaint of the Plaintiff, and states:

          1. Defendant denies the allegations in paragraph 1 of Plaintiff's Complaint.

          2. Defendant admits the allegations in paragraph 2 of Plaintiffs Complaint.

          3. Defendant admits the allegations in paragraph 3 of Plaintiff's Complaint.

          4. Defendant denies the allegations in paragraph 4 of Plaintiff's Complaint.

          5. Defendant denies the allegations in paragraph 5 of Plaintiffs Complaint.

          6. Defendant denies the allegations in paragraph 6 of Plaintiff's Complaint.

          7. Defendant states that any allegation contained in Plaintiffs Complaint and not specifically

    admitted herein is deemed denied.

'         8.     Defendant reserves the right to exercise, elect, and/or initiate any private contractual

    arbitration clause, electing JAMS as the forum of choice, that may be discovered during the

    discovery phase of this case.

          9. Pleading affim1atively, Defendant pleads any and all defenses which may be applicable

    pursuant to Ark. R. Civ. P. Rule 8(c), including, but not limited to, statute of limitations and

    Plaintiff not being a real party of interest that lacks standing in this action.

           10.   Defendant reserves the right to amend its answer, plead further, join parties, and

    counterclaim for violations of the Fair Debt Collections Practices Act§ 15 U.S.C. 1692 et seq,



                                                                                                            ··~
                  Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 20 of 33


               IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS


CAVALRY SPV I, LLC                                                                        PLAINTIFF

v.                                    CASE NO. CWCV-14-436

JEFFREY C AKINS                                                                         DEFENDANT

                              RESPONSE TO MOTION TO DISMISS




states:

          1.    Plaintiff generally and specifically denies each and every allegation contained in the

Defendant's Motion to Dismiss unless specifically admitted herein.

          2.      Plaintiff generally and specifically denies the allegations in the paragraph of

Defendant's Brief in Support of Motion to Dismiss regarding Rule IO(d). Plairrtiff requests

additional time to request the necessary docmnentand amend the Complaint. As per Gemini Capital

Group, UC v. Kenneth Dean McFarland;l.014 Ark. App. 83 (2014), there is no surprise to

Defendant by amending the complaint to a suit on a credit card account to attach the. cardmember



original complaint_ Id. In Gemini,, it was shown that; the complaint itself can be amended h'berally

to attach the. cardmember agreement after Complaint is filed.

          WHEREFORE, Plaintiffprays that the Court deny the relief sought in Defendant's Motion

to Dismiss, grant reasonable attorney's fees in having to respond to the Defendant's Motion to

Dismiss and award the Plaintiff all other just and proper relief.

          That pursuant to Ark. R. Civ. P. 78,, Plaintiffwaives its right to a hearing on this Motion and

requests the Court rule on the pJeadings once the time for response has passed.



S&A File No. 14-00939-0
""'
                                                                                                        IEXHIBIT~ I
                Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 21 of 33




                                      Lori Withrow (98069)
                                      Colton Gregory (2-013181)




S&A File No. 14-00939-0
                                                                                 I       ~1
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""'
                Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 22 of 33


           IN THE DISTRICT COURT OF FAULKNER. COUNTY, ARKANSAS
                             CONWAY DIVISION

CAVALRY SPV I, LLC                                                                           PLAINTIFF

v.                                     CASE NO. CW-CV-14-436

JEFFREY AKINS                                                                             DEFENDANT

           RESPONSE FOR.ADMISmONS TO DEFENDANT JEFFREY AKINS

      Comes now the Defendant;, Jeffrey Akins, by and through his attorney, Leigh Law PLLC.,

and its response to requests for admissions and states:

      REQUEST FORAD™ON N0.1:                            Admit that Defendant is a resident of Faulkner,

County, Arkansas:

      RESPONSE TO .ADMISmON NO. 1:                       Admit

      REQIJEST FO:R ADMISSION NO. 2:                     Admit that Defendant pw:cbased certain items

and charged same on the charge accpunt which is the subject matter of this lawsuit

      RESPONSE TO ADMISSION NO. 2:                       Objection: as to "the charge account" as being

vague, overly broad, and~ facts not in evidence of an "underlying account,"~ the Plaintiff

has failed to comply with the mandatory pleading requirements of AR.CP 10{b),1 that requires a

copy of any written instrument or document upon which a claim _or defeme is based be attached
                                                                         !




as an exlnDit to the Complaint.   F~ore,          Plaintiff did not comply with ARCP 36, which~

that copies of documents shall be served with the request for admission unless they have been or

are otherwise furnished or made available for inspection or copying.               Wrthout waiving said

objections, the DefeDdant denies that he charged certain items on a Cavalry SPV I, LLC charge

account.



1 OnSeptember4, 2014, the Defmdam: filed a motion to dismiss die PJaietiff's CompJaim:. As of the date Gfthis
respome to.n:quest tor admissions, the Court has not ruled oa.the Deli:sdant's motion.
               Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 23 of 33


      REOUESJ FORADMJSSl<)N NO. 3:                 Admit that the amount past due on said acconnt,

which bas not been paid, and has been owed by the Defendant for a period of time is $1~76.43.

      RESPONSE TO ADMISSION NO. 3:                 Objection: as to "said account" as being vague,

overly broad, and assuming facts not in evidence of a "said account," as the Plaintiff has failed to

comply with the mamia1my pleading requirements of ARCP 1O(b) that requires a copy of any

written instrument or document upon which a claim or defense is based be attached as an exhibit

to the Complaint. Furthermore, Plaintiff did not comply with ARCP 36, which states that copies

of documents shall be served with the request for admission unless they have been or are otherwise

furnished or made available for inspection or copying.       Without waiving said objections, the

Defendant denies he is past due on any account with. Cavalry SPV I, LLC for any period of time

and for any dollar amount.

      REQUEST FOR ADMISSION NO. 4:                   Admit that_mon:thly statements/bill in regard

to this account were sent to and received by Defendant.

      RESPONp. TO· ADMISSlON NO. 4~                   Objection, calls for speculatioB in asking the

Defendant to admit or deny that monthly statements were sent by a thiid party that Defendant has

no affiliation with. Further objecting as to "this accomit," as being vague, overly broad, and

assuming fact3 not in evidence of an "account," as the Plaintiff has failed to comply with the

mandatory pleading requirements of ARCP l O(b) ~requires a copy of any written instrument or

document upon which a clalln or defense is based be attached as an. exhibit to the Complaint.

Furthermore, Plaintiff did not comply with ARCP 36, which states that copies of documents shall

be served with the request for admission unless they have been or are otherwise furnished oc made

available for inspection or copying. Without waiving said objections, the Defendant denies that

he received any monthly starements/bill from Cavahy SPV I, LLC.
                Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 24 of 33


      REQUEST FOR.ADMISSION NO. 5:                 Admit that the Defendant never notified Plaintiff

or the original creditor in writing of any dispute in regard to this account (balance)-

      RESPONSE TO ADMISSION NO. S:                   Objection as to "original creditor" and "this

acco~" as being vague, overly broad, and assuming facts not in evidence of an "original creditor"

or an "account," as the Plaintiff bas failed to comply with the mandatory pleading requirements of

ARCP 1O(b) that requires a copy of any written instrument or document upon which a claim or

defense is based be attached as an exhibit to the Complaint. Furthermore, Plaintiff did not comply

with ARCP 36, which states that copies of documents shall be served with the request for

admission unless they have been or are otherwise :fumished or made available for inspection or

copying. Without waiving said objectio~ the Defendant admits that he never notified Cavalry

SPV I, LLC.• in writing, of any dispute in regard to any account and/or to any account balance in

any amount.

      REQUEST FOR.ADMISSION NO. 6:                  Admit that the Defendant never notified Plaintiff

or the original creditor in writing of any complaints or requests to stop credit on this account.

       RESPONSE TO ~N NO. ':                          Objection as to "original creditor" and "this

account," as being vague, overly~ and assuming facts not in evidence ofan "original creditor''

or an "account.," as the Plaintiff has failed to comply with the mandatory pkading requirements of

ARCP lO(b) that requires a copy of any written instrument or document upon which a claim or

defense is based be attached as an exhibit to the Complaint. Furtherm.Gre, Plaintiff did not comply

with ARCP 36, which states that copies of documents shall be served with the request for

admission tmless they have been or are otherwise furnished or made available for inspection or

copying. Defendant further objects to the admission as assmning _a fact not in evidence of there

ever beiBg credit granted for which the Defendant could have notified .tke PWntiff to stop such         _
                                                                                                        .....   -----
               Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 25 of 33


extension of credit. Without waiving said objections, the Defendant admits that he never notified

Cavalry SPV I, LLC., in writing, of any complaints in reference to any account and/or account

~        nor did Plaintiff ever ask Cavalry SPV I, LLC., to "stop credit" as Defendant never had

any credit with Cavalry SPV I, LLC., to stop.

      REQUEST FOR ADMISSION NO. 7:                   Admit that Defendant has no documentation

indicating the balance of this accomrt to be l~ than $1,376.43.

      RESPONSE TO ADMISSION NO. 7:                 Objection as to '1his account," as being vague,

overly broad, and assuming facts not in evidence of an "account," as the Plaintiff has failed to

comply with the mandatory pJeadjng requirements of ARCP I O(b) that requires a copy of any

written instrument or document upon which a claim or defense is based be attached as an exhibit

to the Complaint. Furthermore, Plaintiff did not comply with ARCP 36, which states that copies

of documents shall be served with the request for admission tmless they have been or are otherwise

finnisbed or made available for inspection or copying.     Without waiving said objections, the

Defendant admits that he has no documentation for any account and/or any account balance with

Cavalry SPV I, LLC., or any other party, showing any account and/or balance I~ than $1,376.43.

      REOUFSf FOR ADMISSION NO. 8:                   Admit that Defendant is indebted to Plaintiff

in the amount of $1,376.43.

      .RESPONSE TO ADMISSION NO. 8:                 Denied.




                                                                                                 I   EXHIBJiD4   I
               Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 26 of 33


                                     Respectfully Submitted




                                 ~~  ViCtOn;;Leigh (2011257)
                                     Attorney for the Defendant
                                     P.O. Box 21514
                                     Little Rock, AR 72221
                                     501-227-7627
                                      501-227-7628 (fax)


                                 CERTIFICATE OF SERVICE

   I, Victoria Leigh, do hereby certify that a copy of the above and foregoing response to request
for admissions has been served on all attorneys ofrecord as listed below, on this 200 day of October,
2014.                                                           .

Allen & Wrtbrow                           Via Fax: 501-707-1214
Ms. Lori Wrthrow
Attorney at Law
12410 Cantrell Rd Suite 100
Little Rock, AR 72223




                                                                                                --------------- ________   _.




                                                                                                        iEXHIBt~j
                        Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 27 of 33
                                         .Al .I .RN & WITHROW
                                                  Attotneye-at Law
                                              1241& ~Suite 100.
Hemy "Gus" Allen                              Li:tde ~ Ari; - 7223J
                                                                5
                                                                                                       Mmting Address
Lori E. \Vdhlow                                WWW'..aleawidKvw.coa                              Post Ofiicc Box 17248
Colton Gregory                                                                                   little Rock, AR 72222
Guy J. Battctt: of coamel*                                                                       Tell Free 800-7%-7940
B-yron Sou.them: of coaase1                                                                      *Licensed in Missouri

                                                December 19:, 2014


         Vietoria Leigh
         P.O. Box 21514
         Little Rock, AR 72221



                          -Re:   -cavatriSPV1,U.Cv.-c6 :· -
                                  ease No. CWCV-14-436
         Dear JeilieyC Akim:

               Pursu.;aut to Ark. Code Ann. § 16-46-108,. this letter is being sent to infurn1 }'Oil that an
         affida'ritfor~ S\VOm and mbsen"bed hy mecm Krgenud of Cavalry SPV i ~along with the
         other5 relevant dOcamems in this matteJ: have beea.seat to the GOUrt for filing. If you would like a
         copy oitheBbo~~ ~!S, eithcr·oontact: 1) 1his office~~ to be made and
         seat to you fi>r·a fee, OR 2) tie cooit.




                                                                                                                         ,----



         s&i\File NQ. l~
         .....
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           Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 28 of 33



            IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS
                              CONWAYDMSION

 CAVALRY SPV I, LLC

 v.                                  CASE NO. CWCV-14-436

 JEFFREY C AKINS                                                                    DEFENDANT

                                      ORDER TO COMPEL

        Upon Motion of Plaintiff, and the Court being well and sufficiently advised, IT IS
 CONSIDERED, ORDERED, and ADJUDGED that .the Defendant serve upon the Plaintiff
 proper responses to the Requests for Admissions and Interrogatories, vvithin fifteen (15) days of
 the date oftbis Or<ier.
        An attorney's fee is awarded to the Plaintiff in this matter in the amount of$ /{)t)_ ~....i
        PREMISES CONSIDERED~ IT IS HEREBY SO ORDERED.




                                                      JUD?~S
                                                     Date:            I t'~~/t S-




 Lori Withrow (19980      ext.106
 Colton Gregocy: {2013181) ext.107
 Gary J Barrett (2000071) ext.114
Attorney for Plaintiff
P.O. Box I 7248
Little R~ AR 72'}.22
(501) 227-2-000




14-00939
-.mn




                                                                                              [ EXHIBITE   I
                                                                                                       ---
Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 29 of 33




           YOU MUST NOTIFY US WHEN YOU
           CHANGE YOUR ADDRESS
              We striVe to keep accurate records for your
           benefit and ours. The post office and others may
           notify us of a change to your address. When you
           change your address, you must notify us
           promptly of your new address.

           WHAT LAW APPLIES
              This Agreement is made in Delaware and we
           extend credit to you from Delaware. This
           Agreement is governed by the laws of the State
           of Delaware (without regard to its conflict of laws
           principles) .and by any applicable federal laws.

           THE PROVISIONS OF THIS AGREEMENT
           ARE SEVERABLE
              If any provision of this Agreement is found to
           be invalid, the remaining provisions will continue
           to be effective.

           OUR RIGHTS CONTINUE
              Our failure or delay in exercising any of our
           rights under this Agreement does not mean that
           we are unable to exercise those rights later.

           UNAUTHORIZED USE OF YOUR CARD
              Please notify us immediately of the loss, theft,
           or possible unauthoriZed use of your account at
           1-800-789-6701.

           ARBITRATION AND LmGATION
                This Arbitration and Litigation provision
           applies to you unless you were given the
           opportunity to reject the Arbitration and Litigation
           provisions and you did so reject them in the
           manner and timeframe required. it you did reject
           effectively such a provision, you agreed that any
           litigation brought by you against us regarding this    •
           account or this Agreement shalt be brought in a
           court located in the state of Delaware.

              Any claim or dispute (wClaim") by either you or
           us against the other, or against the employees,
           agents or assigns of the other, arising from or
           relating in any way to this Agreement or any prior
           Agreement or your account ('htiether under a

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                                                                      EXHIB116_J   I
Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 30 of 33




        staMe, in contract, tort, or otherwise and
        vmether for money damages, penalties or
        declaratory or equitable relief), including Claims
        regarding the applicability of this Arbitration and
        Litigation Section or the validity of the entire
      ~eement or any prior Agreement, shall be
            olved by binding arbitration.                 ~

     ---       The arbitration shall be conducted by the
           National Arbitration Forum ("NAF"), under the
           Code of Procedure in effect at the time the Claim
           is filed. Rules and forms of the National
           Arbitration Forum may be obtained and Claims
           may be filed at any National Arbitration Forum
           office, www.arb-forum.com, or P.O. Box 50191,
           Minneapolis, Minnesota 55405, telephone
           1-800-474-2371. If the NAF is unable or un'W'illing
           to act as arbitrator, we may substitute another
           nationally recognized, independent,arbitration
           organization that uses a similar code of
           procedure. A1 your written request, we will
           advance any arbitration fifing fee, administrative
           and hearing fees which you are required to pay to
           pursue a Claim in arbitration. The arbitrator will
           decide who will be ultimately responsible for
           paying those fees. In no event will you be
           required to reimburse us for any arbitration filing,
           administrative or hearing fees in an amount
           greater than what your court costs would have
           been if the Claim had been resolved in a state
           court with jurisdiction. Any arbitration hearing at
           which you appear will take place within the
           federal judicial district that includes your billing
           address at the time the Claim is filed. This
           arbitration agreement is made pursuant to a
           transaction invoMng interstate commerce, and
            shall be governed by the Federal Arbitration Act,
            9U.S.C.§§1-16 ("FAA"). Judgment upon any
            arbitration award may be entered in any court
            having jurisdiction. The arbitrator shall follow
            existing substantive law to the extent consistent
            with the FAA and applicable statutes of
            limitations and shall honor any claims or
            privilege recognized by law. If any party requests,
           the arbitrator shall Vt/rite an opinion containing the
            reasons for the award.
 •                                                        •

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                                                                    EXH1Bli§11
    Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 31 of 33




                   No Claim submttted to arbitratiOA is heard by
               a j.Uy and no Claim may be brOught &Sa class
               ~or as a priYale       attomeY general You do
               net have the right to act as a class repr.e s datiw
               or Perficipate as a member of a class of
               claimants \\tit. respect to any Claim. This
               Arbitration and Litigation Section applies to aH
               Claims now in EDCistence or that may arise in the
               future.

                   This ArbitrafiOn and Litigation Section shaU
               survive the termination of~ account \\ih us
               as well as any voluntary payment of the debt in
               full by you, any bankruptcy by you or sale of the
               debt by us._

                   For the· purposes of this Arbitration and
               Litigation Section. ._and       "us" means MBNA
               America Sank, NA. its parent, subsidiaries,
               affiliates. licensees, predecessors, successors,
               assigns, and-any purdmser of your.account, and
               al of their officers, dire:ctoiS. employees. agents
               and assigns or 8AY. and au oftbern. Additionally,
               "¥#!'or '"US' shall mean any ihird party providing
               benefits, services. or proclucts in cor11"leetion v.;th
               ttle account fmcluding but not limited to CR!dit
               bureaUS. merchants that accept any credit device
               issued under the account, rewards.or enro~
               services, credit insurance~ debt
               caBectors and all of their ofticers, directors,
               emplOyees and agents) if, and only if, such a
               third party iS named bY you. as a co-defendant in
               8rPJ Claim you assert against us.

                  If any part of this Altlitnltion and Utigafion
               Section is faund 1D be invalid or unembrceable
               under any law or statute consistent 'wilB 1he FAA.
               the ~of this Ad>lratiun and Utigation
               Section shal be~ wilbaut: regard to
               such invalidity or unenfoltmbifily.

                  THE RESULT OF THIS ARBITRATION



-
               AGREEMENT IS THAT, EXCEPT /IS
               PROVIDEDPBOVE,.ClAIMS CANNQT BE                           ~
                LITIGATED
                CLAIMS    IN COURT,
                       THAT         INCLUDINGSOME
                             COULD HAVE BEEN TRIED •
                                                   ... - • - - - - - - • •
                ~A.JURY, M CLASsAC110NS ORM>
                PRIVATE· ATTORNEY GENERAL ACTIONS.




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                                                                             EXHIBIT   .l:i I
    Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 32 of 33




              YOU MUST NOTIFY US WHEN YOU
              CHANGE YOUR ADDRESS
                 We strive to keep accurate records for your
              benefit and ours. The post office and others may
              notify us of a change to your address. When you
              change your address, you must notify us
              promptly of your new address.

a        >WHAT LAW APPLIES
                 ThisAgreementsmadeinDelawareand~
              extend credit to you from Delaware. Ths
              Agreement is governed by the laws of the state
              of Delaware (without regard to its conflict of laws
              principles) .and by any applicable federal laws.

              THE PROVISION$ OF THIS AGREEMENT
              ARE SEVERABLE
                 !f any provision of this Agreement is found to
              be inValld, the remaining provisions will continue
              to be effective.

              OUR RIGHTS CONTINUE
                Our failure or delay in exercising any of our
              rights under this Agreement does not mean that
              we are unable to exercise those rights later.

              UNAUTHORIZED USE Of YOUR CARD
                 Please notify us immediately ofthe loss, theft,
              or possible unauthorized use of your account at
              1-800-789-6701.

              ARBITRATION AND LITIGATION
                This Arbitration and Litigation provision
              applies to you unless you were given the
              opportunity to reject the Arbitration and Litigation
              provisions and you did so reject them in the
              manner and timeframe required. If you did reject
              effectively such a provision, you agreed that any
              litigation brought by you against us regarding this
              account or this Agreement sbalt be brought in a
              court located in the State of Delaware.
                 Any claim or. dispute ("Claim"). by either you or
              us against the other, er against 1he employees,
              agents or assigns of the other, arising from or
              relating in any way to this Agreement or any prior
              Agreement or your account (Wlether under a

                                       %1
                   Case 4:15-cv-00119-BRW Document 1 Filed 03/02/15 Page 33 of 33


              IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS


 CAVALRY SPV I, LLC                                                                       PLAINTIFF

 v.                                    CASE NO. CWCV-14-436

 JEFFREY C AKINS                                                                        DEFENDANT

                                      RESPONSE TO ANSWER



         Comes now the Plaintifr: by and through counsel, and for its Response to Answer, states:

         1.    Plaintiff generally and specifically denies each and every allegation contained in the

 Defendant's Answer wtless specifically admitted herein.

         2.      Plaintiff specifically and generally denies the allegation in the Defendant's Answer

 that the debt is out of statute of limitations. Case law is clear on the statute of limitations for debt

 arising from credit card debt. Debt which arises from credit card debt is subject to a fiv~year statute

 of limitations. In re Pettingill, 403 B.R. 624 (E.D. Ark. 2009). Specifically Plaintiff states that

+-1'•          last paymait on the account wos on Febnlm:y       1~11, which is clearly within the
 statute of limitations.                                          9'
         WHEREFORE, Plaintiffprays that the Court deny the relief sought in Defendant's Answer,

 grant reasQnable attomey's,.fees in having to respond to the Defendant's Answer aBd award the

 Plaintiff all other just and proper relief:

         That pursuant to Ark. R. Civ. P. 78, Plaintiff waives its right to a hearing on this Motion and
 requests the Court rule on the pleadings once the time fox response has passed.




 S&A File No. 14-00939-0
 .....                                                                                               I EXHlBlt:LI
